 

ATTORNEV OR PARTV Wl\'HOU¥ ATTORNEY (Nnme nnrlA<ic/n:ss) TE!_EPi~lONE NO: FOR COURT USE ONLV

Adam Tracy, 6287552 (888§ 611~7716
The Tracv Firm, Ltd.
2100 l\/ianchester Road, Suite 615
Wheafon` ||__ 60187 nor mo orrimi<t
ATToRNEY Forzr~ame)' Plaimiff None
lnserl name cl court judicial district o' branch court ll any

United States District Coun, Nortl\ern District of illinois

 

 

 

 

 

 

 

PLAINTlFF_
Flava Works, inc.
DEFENOANT:
Black Rayne Productions, lnc. XLR8 l\/ledia Group , et ai.
DATE: Tli".ii.§: Di.-`.PT/Dl\/` CASE Nl.|MBER.
NON SERVlCE REPORT 2017€;\/03102

 

 

 

 

 

 

 

l am and was on the dates herein mentioned a citizen of the United States, over 18 years of age and noia party to this action, and l received
copies of the following:

Cornp|aint, Exhibits A, E)<hibits B, Summons

Ai"ter due search, careful inquiry and diligent attempts at the following .:.)ddrees(<~)s)x l have been unable to effect service of Said process cn:
Corey \Nright a/k/a Que Santiago

(1)Unknown: 160 Clairmont Ave, , Decatur, GA 30030

Process is being retumed without Service for the following reason(s):

On 12/9/2017 12:52;00 PM at address (1) above. Not Found. Pariy to Serve le unknown at this
location.

Fee for Service: $ 53.95

' l declare under penalty of perjury under the laws of the United States of
N°t 3 registered California process server. Amarica that the foregoing is true end correct

12/19/2017

F rank Johnson , A’>{/,__`
One Legal - 194-Marln Signature. ._< »

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504 Redwood Brvd #223 / F,}€Qk/hohn$@n

Novato, CA 94947 ,
415-491-0606 OL# 11565740

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